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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                      Plaintiff,                                 4:13CR3003
      vs.
                                                       MEMORANDUM AND ORDER
IRMA CRISPIN-GOMEZ,
                      Defendant.


       Defense counsel has moved to continue the trial currently set for a month from
now, February 10, 2014. (Filing No. 32). The defendant’s trial was originally set to be
held in April of 2013, and has been moved four times at the request of defense counsel.
See, Filing Nos. 16, 20, 24, and 28. The current motion fails to state whether the
defendant is aware of this motion to continue, much less whether defendant approves of
the request. Finally, it is unclear whether defense counsel has an actual scheduling
conflict, and at some point, this defendant’s trial must become a priority.

       Accordingly,

      IT IS ORDERED that the defense counsel’s motion to continue the trial, (Filing
No. 32), is denied.

       January 13, 2014.
                                                   BY THE COURT:
                                                   s/ Cheryl R. Zwart
                                                   United States Magistrate Judge
